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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7       RESOLUTE FOREST PRODUCTS, INC.,                     Case No. 17-cv-02824-JST (KAW)
                                           et al.,
                                   8
                                                          Plaintiffs,                          ORDER TERMINATING NON-
                                   9                                                           COMPLIANT DISCOVERY LETTER
                                                    v.
                                  10                                                           Re: Dkt. No. 423
                                           GREENPEACE INTERNATIONAL, et al.,
                                  11
                                                          Defendants.
                                  12
Northern District of California
 United States District Court




                                  13             On January 28, 2022, the parties filed a discovery letter regarding Plaintiffs’ assertion of

                                  14   privilege as to certain documents. (Dkt. No. 423.) The Court TERMINATES the discovery letter

                                  15   for failure to comply with the undersigned’s standing order and the Civil Local Rules.

                                  16             First, the parties did not properly meet and confer as they met and conferred only by

                                  17   telephone on January 10, 2022. Per the undersigned’s standing order, parties are required to “meet

                                  18   and confer in person or by video conference, if an in-person conference is not feasible, regarding

                                  19   the discovery dispute(s) in an effort to resolve these matter(s). (Meet and confers may only occur

                                  20   by telephone if it is impossible to meet in person or by video.).” (Judge Westmore Standing Order

                                  21   ¶ 13.) Further, the discovery letter must be filed “within five (5) days of the lead trial counsel’s

                                  22   meet and confer session.” (Judge Westmore Standing Order ¶ 14(a).)

                                  23             Second, the discovery letter includes no fewer than 47 pages of exhibits, contrary to the

                                  24   undersigned’s standing order. (See Judge Westmore Standing Order ¶ 14(b)(ii) (“The parties may

                                  25   only attach 12 pages of exhibit(s), which must be clearly marked and tabbed.”).) One of the

                                  26   exhibits also appears to be in a font size that is frankly illegible.1 (Dkt. No. 423-2.) The discovery

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                                  28   1
                                           Even at 152% zoom, the text is barely legible.
                                          Case 4:17-cv-02824-JST Document 424 Filed 01/31/22 Page 2 of 2




                                   1   letter also includes exhibits that are not permitted by the undersigned’s standing order. (See Judge

                                   2   Westmore Standing Order ¶ 14(b)(i) (“The joint letter . . . may not be accompanied by exhibits or

                                   3   affidavits other than exact copies of interrogatories, requests for production of documents and/or

                                   4   responses, privilege logs, and relevant deposition testimony.”).)

                                   5          Third, the discovery letter includes footnotes that fail to comply with Civil Local Rule 3-

                                   6   4(c), which requires that the font size of footnotes by “in 12 point type or larger.” The parties

                                   7   have previously been warned that footnotes must be in 12-point standard font, and that the parties

                                   8   should request leave of Court if they require additional pages. (Dkt. No. 269 at 2 n.1.) The Court

                                   9   is also under no obligation to consider arguments made solely in footnotes. See Riegels v. Comm'r

                                  10   (In re Estate of Saunders), 745 F.3d 953, 963 (9th Cir. 2014) (“Arguments raised only in footnotes

                                  11   . . . are generally deemed waived.”).

                                  12          The Court observes that this is not the first (nor even the second or third) time the Court
Northern District of California
 United States District Court




                                  13   has terminated the parties’ discovery letter for failure to comply with these exact requirements.

                                  14   (See Dkt. Nos. 276 (terminating discovery letter for failure to comply with exhibit requirements),

                                  15   324 (terminating discovery letter for failure to comply with meet and confer requirements), 380

                                  16   (terminating discovery letter for failure to comply with exhibit requirements).) The Court has also

                                  17   repeatedly instructed the parties to file a request for additional pages prior to filing a non-

                                  18   compliant discovery letter. (See Dkt. No. 269 at 2 n.1, 276, 380, 397.)

                                  19          Accordingly, the Court TERMINATES the discovery letter. Given the repeated flagrant

                                  20   disregard for the Court’s requirements and Civil Local Rules, failure to comply with all

                                  21   requirements in the undersigned’s standing order and Civil Local Rules will result in the summary

                                  22   termination of future discovery letters without further explanation.

                                  23          IT IS SO ORDERED.

                                  24   Dated: January 31, 2022
                                                                                              __________________________________
                                  25                                                          KANDIS A. WESTMORE
                                  26                                                          United States Magistrate Judge

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